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Exhibit C

E-Discovery Protocol

This Protocol supplements the provisions of Federal Rules of Civil Procedure 16, 26, 33,
34, 37 and 45, and the Federal Rules of Bankruptcy Procedure, insofar as those Rules relate to
the production of documents and ESI. This Protocol shall supersede any instructions in Requests
for Production regarding the matters addressed herein. To the extent that instructions in
Requests for Production conflict with this Protocol, the Protocol shall govern.

All reasonable efforts will be taken to ensure that documents produced in this litigation
are formatted as follows:

A. Documents gathered from electronic data should be provided in the following
format:

1, TIFFs. The parties will produce all documents as Group IV single page
black and white TIFF format files imaged at 300 dpi. The producing party will honor reasonable
requests made in good faith for either production of the original document for inspection and
copying or production of a color image of the document. In all cases the image must reflect how
the source document would have appeared if printed out to a printer attached to a computer
viewing the file. The producing party will, however, instruct its vendor to disable Auto Date and
to enable and show hidden columns or rows, hidden worksheets, speaker notes, track changes
and comments.

2. Unique IDs. Each image should have a unique file name, which is the
Bates Number of the page. Bates Numbers shall be unique IDs with a prefix that can be readily
attributed to the producing party. Bates Numbering should be sequential. If a Bates Number or

set of Bates Numbers is skipped in a production, the producing party will so note.

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3. Spreadsheets and Other Files in Native Format: All Excel files and other

files that cannot be reasonably reviewed except on a computer shall be produced in native
format. For these native or other format files, the producing party will also provide a single page
placeholder referencing the native file with a Bates stamp for the file. The produced file should
be named with the Bates number of the first page of the corresponding TIFF production of the
document (e.g. “ABC0000001.xls”).

4, Database Load Files/Cross-Reference Files. Documents produced shall be

provided with (i) Concordance delimited load file(s) and (ii) Opticon delimited cross-reference
file(s). Every TIFF in each production must be referenced in the production’s corresponding
load file. The total number of images referenced in a production’s load file should match the
total number of TIFF files in the production. The database load file shall include a reference to
any native files that are produced.

5. Parent-Child Relationships. Parent-child relationships (the association

between an e-mail and the attachments) should be preserved. The producing party shall produce
email attachments sequentially after the parent email. The load files shall maintain a cross
reference between the parent and any children.

6. Requests for high-resolution or color documents. The producing party

agrees to respond to reasonable and specific requests for the production of higher resolution or
color images. Nothing in this Protocol will preclude a producing party from objecting to such
requests as unreasonable in number, timing or scope, provided that a producing party will not
object if the document as originally produced is illegible or difficult to read. The producing

party shall have the option of responding by producing a native-file version of the document. If

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a dispute arises with regard to requests for higher resolution or color images, the requesting and
producing parties will meet and confer in good faith to try to resolve it.

7. Foreign language documents. All documents shall be produced in their

original language. Where a requested document exists in a foreign language and the producing
party also has an English-language version of that document that it prepared for non-litigation
purposes prior to filing of the lawsuit, the producing party shall produce both the original
document and all English-language versions. In addition, if the producing party has a certified
translation of a foreign-language document that is being produced, whether or not the translation
is prepared for purposes of litigation, the producing party shall produce both the original
document and the certified translation. Nothing in this Agreement shall require a producing
party to prepare a translation, certified or otherwise, for foreign language documents that are
produced in discovery.

8. Text Files. For each document, a document level text file should be
provided along with the TIFFs. If the document contains extractable text, the extractable text
should be provided. If the document does not contain extractable text, the producing party shall
provide OCR for that document. The text files will not contain the redacted portions of the
documents. Text files for documents or pages containing redactions shall be produced no later
than five (5) business days after the production of the corresponding TIFFs.

9. Metadata Fields. The following metadata should be provided if it exists:

(i) all metadata as set forth in the table below; (ii) metadata pertaining to time/date should be
maintained as it exists in the native file at the time of collection. The producing party reserves
its rights to object to any request for the creation of metadata for documents that do not contain

metadata in the original.

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10. De-duplication. The producing party may de-duplicate ESI that is exact

and identical across all custodians’ ESI. The producing party may use and rely in good faith on
reasonable electronic means of de-duplicating documents or files.

11. Native Format. With the exception of those spreadsheets discussed above
in Paragraph 3, the producing party is not required to produce ESI in native format without
prejudice to the requesting party’s right to request the production of individual documents in
native format upon a showing of good cause. The requesting party must make written request to
the producing party for the production of individual documents in native format. The written
request shall identify the individual documents by Bates number with an explanation of good
cause as to each individual document. A person receiving a written request for production of a
document in native format shall have fourteen (14) days after the request to object. If the
producing party makes such an objection, the requesting party must meet and confer with the
producing party to try to resolve the matter by agreement. If no agreement is reached, the
requesting party may file a motion seeking an order requiring the producing party to produce the
requested documents in native format. The requesting party shall be solely responsible for
obtaining any software or hardware required to review electronic documents produced in
discovery, including in native format, so long as such software or hardware is readily available to
the public. To the extent such software or hardware is not readily available to the public, nothing
herein shall foreclose a requesting party from moving for an order to obtain access to the
software or hardware necessary to review electronic documents produced in discovery. The
foregoing is without prejudice to the producing party’s right to produce audio and video files in

the format in which the files are maintained in the ordinary course of business.

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Documents produced natively shall be represented in the set of imaged documents by a
slipsheet indicating the production identification number and confidentiality designation for the
native file that is being produced.

12. Databases. Certain types of databases are dynamic in nature and will
often contain information that is neither relevant nor reasonably calculated to lead to the
discovery of admissible evidence. Thus, a producing party may opt to produce relevant and
responsive information from databases in an alternate form, such as a report or data table. These
reports or data tables will be produced in a static format.

The producing party agrees to identify the specific databases, by name, that contain the
relevant and responsive information.

B. Hard-copy documents that are produced, as opposed to being made available for
inspection and copying, should be provided in the format described in Sections IJI.A.1 — 7 and
should also be formatted as follows:

1. Unitizing of Documents. In scanning paper documents, distinct

documents should not be merged into a single record, and single documents should not be split
into multiple records (i.e., paper documents should be logically unitized). The producing party
will make its best efforts to have its vendors logically unitize documents correctly and will
commit to address situations where there are improperly unitized documents.

2. Objective Coding Fields. The following objective coding fields should be

provided to the extent available: (a) beginning Bates number; (b) ending Bates number;
(c) beginning attachment Bates number; (d) ending attachment Bates number; (e) number of

pages; and (f) custodian.

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Metadata Fields

Concurd

-BEGPRODBATE Beginning Bates or control number(w/Prefix)

ENDPRODBATE Ending Bates or control number (w/Prefix)

BEGBATESATT Beginning of attachment range for e-mails or attached documents.

ENDBATESATT Beginning of attachment range for e-mails or attached documents.

CUSTODIAN Custodian is generally the person who provided the information

DOCTYPE Doctypes should be defined (can include coded information or
electronically captured metadata).

FILENAME Document file name

FILETYPE File type of original document

CREATEDATE Date created [MM/DD/YYYY]

LASTMODDATE Date last modified [MM/DD/YYYY]

SENTDATE Date sent_ [MM/DD/YYYY]

SUBJECT Email subject line

AUTHOR File author

FROM Email author

RECIPIENTS Choose one of these fields to contain recipient info for e-mails.

CC Email carbon copies [Delimited list]

BCC Email blind carbon copies [Delimited list]

PAGES Total page count per document

ATTACH CNT Attachment count

SENTTIME Sent Time

FILEPATH Folder where files resided. File path may be a “Directory” for loose
files or a “Folder” for emails.

FILESIZE Document file size in bytes. For families of electronic documents,
the “Contribution size” for each document may be provided instead
of Filesize.

NATIVE PROD Location of native file in volume if provided (Native Link)

LSTEDITBY Last Edited By

LASTACCESSED ‘Last Accessed By_.

MDSHASH MDSHASH of Electronic Loose File or Attachments

MESSAGEID Internet message identifier

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